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                           UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF NEW JERSEY


  IN RE JOHNSON & JOHNSON “BABY
  POWDER” and “SHOWER TO SHOWER”
  MARKETING, SALES PRACTICES AND
  PRODUCTS LIABILITY LITIGATION
                                                                 MDL NO. 2738 (FLW) (LHG)
  THIS DOCUMENT RELATES TO:

  Katrina Jensen vs. Johnson & Johnson, et al.
  Case No.: 3:21-cv-1637-FLW-LHG




                                       NOTICE OF FILING

         Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

  Complaints) that a Short Form Complaint and Jury Demand has been filed on behalf of Plaintiff,

  Katrina Jensen.

         This 8th day of February 2021.

                                                       Respectfully submitted,

                                                       ONDERLAW, LLC

                                                 By:   /s/ James G. Onder
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                                       Certificate of Service

         The undersigned hereby certifies that this document was filed and electronically served by
  way of the Court’s electronic filing system this 8th day of February 2021.


                                                      /s/ James G. Onder
